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                                                                        FILED IN THE
                                                               UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII

CLARE E. CONNORS # 7936                                              Jul 22, 2022
                                                               Pam Hartman Beyer, Clerk of Court

United States Attorney
District of Hawaii

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,             )   MAG. NO. 22-1259 RT
                                      )
                 Plaintiff,           )   EX PARTE MOTION TO UNSEAL
                                      )   CRIMINAL COMPLAINT; ORDER
      vs.                             )   GRANTING EX PARTE MOTION
                                      )   TO UNSEAL CRIMINAL
WALTER GLENN PRIMROSE, (01)           )   COMPLAINT
  AKA Bobby Edward FORT               )
                                      )
GWYNN DARLE MORRISON, (02)            )
  AKA Julie Lyn MONTAGUE,             )
                                      )
                 Defendants.          )
                                      )
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         EX PARTE MOTION TO UNSEAL CRIMINAL COMPLAINT

             Comes now United States of America, through its undersigned

attorneys, and hereby moves this Court for an order unsealing the Criminal

Complaint filed on July 21, 2022 in the above-entitled matter on the ground that

the defendants have been arrested and a court hearing is scheduled for initial

appearance before Rom A. Trader, United States Magistrate Judge on July 25,

2022 at 10:30 a.m.

             DATED: July 22, 2022, at Honolulu, Hawaii.

                                             CLARE E. CONNORS
                                             United States Attorney
                                             District of Hawaii


                                             By /s/ Thomas Muehleck
                                                 THOMAS MUEHLECK
                                                 Assistant U.S. Attorney




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